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UNITED STATES DISTRICT court 122015

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STR
WESTERN DISTRICT OF wasantHenea rsa

Bab ert John VP, reson

(Name of Plaintiff)

 

 

VS.
Bodse
n de 15 Cc
AN i
(Names of Defendant(s))

I. Previous Lawsuits:

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AMEN HED

CIVIL RIGHTS COMPLAINT
BY A PRISONER UNDER 42
U.S.C. § 1983

A. Have you brought any other lawsuits in any federal court in the United States while a

prisoner?:

th Yes Ol No

B. If your answer to A is yes, how many?:

. Describe the lawsuit in the space

below. (If there is more than one lawsuit, describe the additional lawsuits on another piece of

paper using the same outline.)

1. Parties to this previous lawsuit:

Plaintiff: Reber Sohn Preston

 

Defendants: Wave OS+er

 
 

 

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2. Court (give name of District): U iS Dosti ch Cour —_ Seattle
3. Docket Number: 2 not avosble Ao MQ attic Aino
4. Name of judge to whom case was assigned: Nol ovo! ble. to han od Ads ime ’

5. Disposition (For example: Was the case dismissed as frivolous or for failure to state a claim?

Was it appealed? Is it still pending?): ®
rbGigd Aismssed because af atime ond address

6. Approximate date of filing lawsuit: O et. aol Y

7. Approximate date of disposition: Daly , a [Ss
pyye~

II. Place of Present Confinement: Uasht noon Shode Po nvtent? ory

A. Is there a prisoner grievance procedure available at this institution? ves oO Ne

 

B. Have you filed any grievances concerning the facts relating to this complaint?

CO Yes Kio
ok 4CCuxre of to

C. Is the grievance process completed? Olyes UONo

    

If your answer is NO, explain why not:
va VA

 

 

If your answer is YES, ATTACH A COPY OF THE FINAL GRIEVANCE
RESOLUTION for any grievance concerning facts relating to this case.

III. Parties to this Complaint

 
   
 

Inmate No.: 25 IS

A. Name of Plaintiff: \
Washt Stale Pentten

Address: _\3)2 1246 AVERY?
Woatta walla, wh 49362

(In Item B a place the full hame of the defendant, his/her official position, and his/her place

of employment. Use item C for the names, positions and places of employment of any additional
defendants. Attach additional sheets if necessary. ‘aad

B. Defendant: | ep 2 fA Boyar eles Official Position: Snchamish Cowrty
»
\ehs Depuhy

Place of employmep :

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C. Additional defendants C a. Pla\n Se Ffery Miler Lenebs

 

 

 

 

IV. Statement of Claim

(State here as briefly as possible the facts of your case. Describe how each defendant is involved,
including dates, places, and other persons involved. Do not give any legal arguments or cite any
cases or statutes. If you allege a number of related claims, number and set forth each claim in a
separate paragraph. Attach additional sheets if necessary.)

 

 

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V. Relief

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no
cases or statutes.)

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this T th day of qust 20 | FR

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- (fignature of Plaintiff)

 

    
 

 

 

  

 

 

   

 

 

 

 

 

 

 
 

 

 

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uty rigktfech The Second kick to the face

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